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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

Jacquelyn Ksaizkiewicz
                                 Plaintiff,
v.                                                  Case No.: 1:22−cv−04884
                                                    Honorable Robert W. Gettleman
Rocket Mortgage, LLC
                                 Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, January 13, 2023:


         MINUTE entry before the Honorable Robert W. Gettleman: Pursuant to the
parties' Notice of Settlement [27] defendant's motion to compel and dismiss [15] and
motion to dismiss [17] are terminated without prejudice with leave to refile and the
briefing schedule set on 12/15/2022 [25] is stricken. Telephonic hearing set for 2/28/2023
at 9:15 a.m. on the Webex platform. If a Stipulation to dismiss is filed prior to that date,
the hearing will be stricken. Parties will not be asked to start their video. Members of the
public and media may listen to these proceedings by dialing (650) 479−3207 the meeting
number, access code, or PIN/ID is 1809883385. Counsel of record and other essential case
participants will receive an email prior to the start of the hearing with instructions to join
the hearing. Persons granted remote access to proceedings are reminded of the general
prohibition against photographing, recording, and rebroadcasting of court proceedings.
Violation of these prohibitions may result in sanctions, including removal of court issued
media credentials, restricted entry to future hearings, denial of entry to future hearings, or
any other sanctions deemed necessary by the Court. Mailed notice (cn).




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